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 2                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA
 3
                          (HONORABLE JANIS L. SAMMARTINO)
 4

 5
     UNITED STATES OF AMERICA,                    Case No.: 18-CR-1850-JLS
 6         Plaintiff,                             ORDER TO POSTPONE BOP SELF-
 7                                                SURRENDER DATE AND CONTINUE
     v.                                           STATUS HEARING
 8

 9   CARL LINDBLAD,
10
           Defendant.
11

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13
              Pursuant to the motion of Defendant CARL LINDBLAD by and through his
14

15
     attorney, Megan E. Foster, and unopposed by Assistant U.S. Attorney Mark Pletcher,

16   and GOOD CAUSE APPEARING THEREFORE, IT IS HEREBY ORDERED
17
     THAT the January 8, 2021 BOP report date be extended for an additional sixty (60)
18

19   days, and that CARL LINDBLAD shall now self-surrender on or before March 12,
20
     2021, at 12:00 pm. It is further ordered that the Status Hearing currently set for
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     January 15, 2021 at 9:00 am is hereby continued to March 19, 2021 at 9:00 am.
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              IT IS SO ORDERED.
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     Dated: January 5, 2021
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                 ORDER GRANTING UNOPPOSED MOTION TO POSTPONE BOP SELF-SURRENDER DATE
                                                 -1-
                                                                            18-CR-1850-JLS
